       Case 8:23-cv-02095-TJS         Document 60       Filed 11/22/24      Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


RONALD C. FAGAN, M.D., P.C., et al.         *

       Plaintiffs                           *      Civil Case No. 23-cv-02095-TJS

v.                                          *

U.S. DEPARTMENT OF HEALTH                   *
AND HUMAN SERVICES, et al.
                                            *
       Defendants
                                      *
                                *********
                          DEFENDANTS’ MOTION TO DISMISS

       Defendants, by and through, Erek L. Barron, United States Attorney for the District of

Maryland, and Rebecca A. Koch, Assistant United States Attorney for said District, move to

dismiss Plaintiffs’ Second Amended Complaint pursuant to Fed. R. Civ. P. 12(b)(6) for failure to

state a claim. Defendants’ arguments in support of this Motion are set forth in the attached

Memorandum of Law.

                                                   Erek L. Barron
                                                   United States Attorney


                                            By:            /s/                        /




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                                                   Assistant United States Attorney
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